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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

 VICTORIA LOVETT,

               Plaintiff,
                                                Case No. 1:24-cv-590
        v.
                                                JUDGE DOUGLAS R. COLE
 CONTINUED.COM, LLC,

               Defendant.

                                OPINION AND ORDER

       Defendant Continued.com, LLC (Continued) moves to dismiss Plaintiff

Victoria Lovett’s Complaint (Doc. 1), which asserts a claim under the Video Privacy

Protection Act (VPPA), 18 U.S.C. § 2710 et seq. For the reasons explained below, the

Court GRANTS Continued’s Motion to Dismiss (Doc. 6), and DISMISSES Lovett’s

Complaint (Doc. 1) WITHOUT PREJUDICE.

                                    BACKGROUND 1

       Continued operates a “family of websites” through which consumers can, via

subscription, access videos, courses, and other continuing education materials on

various topics like speech pathology, audiology, and occupational therapy. (Doc. 1, #2,

5–6). One of those websites is www.speechpathology.com. (Id. at #2, 4). On August

15, 2023, Lovett purchased a subscription to that website by “registering and paying”



1 Because this matter comes before the Court on Continued’s motion to dismiss, the Court

accepts the well-pleaded allegations in the Complaint as true. Bassett v. Nat’l Collegiate
Athletic Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). But in reporting the background here based
on those allegations, the Court reminds the reader that they are just that—allegations.
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for access and “providing her email address, payment information, and zip code.” (Id.

at #4). During the term of her subscription, Lovett “request[ed] and obtain[ed] pre-

recorded videos” from the website. (Id. at #5).

      But according to Lovett, her subscription to Continued’s website came along

with a more insidious feature: disclosure of her personally identifiable information

(PII). She says that Continued, without her consent, divulged her private viewing

information to Meta Platforms, Inc. (Meta)—formerly Facebook, Inc. (Id.). The

alleged unauthorized disclosure went something like this. Continued apparently

embedded “Meta Pixel”—a unique string of code—into its websites so it could

“monitor and track” its subscribers’ actions. (Id. at #15). Then, Continued sent certain

data to Meta purportedly to “build detailed” customer profiles and deliver “highly

targeted advertising” to those customers. (Id.). If the website user had a Meta (i.e., a

Facebook) account, Meta could match the anonymous website user to his or her Meta

profile through a Facebook ID (FID) number—a “unique and persistent identifier”

that Meta assigns each of its users. (Id. at #3, 16). That, in turn, allowed Meta to

identify the once-anonymous website user by name since a Meta profile includes a

person’s name and other PII. (Id.). According to Lovett, linking a Continued website

subscriber to a Meta profile is as simple as appending someone’s FID to

Facebook.com—i.e., by typing “Facebook.com/[FID]” into a web browser. (Id. at #3).

      Lovett says that Continued intentionally employed this tactic to disclose two

types of her (and others’) PII to Meta. (Id. at #18–19). She claims that whenever she

or another customer “requested or obtained” a subscription to one of Continued’s



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websites “by clicking on it,” Continued (1) disclosed to Meta that the consumer had

“requested or obtained a subscription to video materials or services,” and (2) also

divulged the requesting subscriber’s FID. (Id.). In short, she complains about

disclosure of both the subscription itself and her unencrypted FID. (Id.). And Lovett

adds that Continued could have programmed its websites to exclude the Meta Pixel

but did not. (Id. at #19).

        Upset that Continued did not notify her of these disclosures or otherwise obtain

her consent, Lovett filed this single-count, putative class action lawsuit on October

16, 2024. She asserts that Continued violated the VPPA by knowingly disclosing its

subscribers’ PII to a third party without their informed, written consent. (Id. at #22–

25). And she hopes to represent a nationwide class of individuals who “during the two

years preceding the filing of this action, purchased a subscription to access

prerecorded video material or services from any one of Defendant’s family of Websites

while maintaining an account with Meta Platforms, Inc. f/k/a Facebook, Inc.” (Id. at

#20).

        Continued now moves to dismiss the Complaint under Federal Rule of

Procedure 12(b)(6). (Doc. 6). It argues that Lovett has not plausibly alleged most of

the elements necessary to state a viable VPPA claim. (Id. at #42–43). Specifically,

Continued claims that (1) it is not a “video tape service provider” (which also means

Lovett is not a “consumer”), (2) the information it allegedly disclosed is not

“personally identifiable information,” and (3) it did not “knowingly” disclose the

information. (Id. at #42–52).



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      Lovett responded, disagreeing on all fronts. She maintains that her allegations

are up to snuff on each required VPPA element. (See generally Doc. 9). Continued

replied. (Doc. 10). So the motion is ripe for review.

                                LEGAL STANDARD

      To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6),

a plaintiff must allege “sufficient factual matter … to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (cleaned up). While

a “plausible” claim for relief does not require a showing of probable liability, it

requires more than “a sheer possibility that a defendant has acted unlawfully.” Id.

The complaint must allege sufficient facts to allow the Court “to draw the reasonable

inference that the defendant is liable.” Id.

      At the motion-to-dismiss stage, in assessing plausibility of the merits, the

Court “must accept the complaint’s well-pleaded factual allegations as true.” Lewis v.

Acuity Real Est. Servs., LLC, 63 F.4th 1114, 1116 (6th Cir. 2023); Iqbal, 556 U.S. at

678. And the Court must “draw all reasonable inferences” in the plaintiffs’ favor.

Marchek v. United Servs. Auto. Ass’n, 118 F.4th 830, 833 (6th Cir. 2024). But that

does not mean the Court must take everything a plaintiff alleges at face value, no

matter how unsupported. The Court may disregard “naked assertions” of fact or

“formulaic recitations of the elements of a cause of action.” Iqbal, 556 U.S. at 678

(cleaned up).




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                                LAW AND ANALYSIS

       The VPPA prohibits a “video tape service provider” from “knowingly

disclos[ing], to any person, personally identifiable information concerning any

consumer of such provider.” 18 U.S.C. § 2710(b)(1). To state a VPPA claim, then,

Lovett must plausibly allege (1) that Continued is a “video tape service provider,”

(2) that it disclosed “personally identifiable information,” and (3) that it did so

“knowingly,” and (4) without authorization. See id.; see also Martin v. Meredith Corp.,

657 F. Supp. 3d 277, 284 (S.D.N.Y. 2023), appeal withdrawn, No. 23-412, 2023 WL

4013900 (2d Cir. May 24, 2023). And the statute helpfully defines some of those

terms. Especially relevant here, a “‘video tape service provider’ means any person,

engaged in the business … of rental, sale, or delivery of prerecorded video cassette

tapes or similar audio visual materials.” 18 U.S.C. § 2710(a)(4). And “‘personally

identifiable information’ includes information which identifies a person as having

requested or obtained specific video materials or services.” Id. § 2710(a)(3).

       Continued says Lovett’s allegations fall short on the first three of those

required elements. As for the first element, Continued disclaims status as a video

tape service provider because, in its view, it does not rent, sell, or deliver “prerecorded

video cassette tapes or similar audio visual materials.” (Doc. 6, #44–47 (quoting 18

U.S.C. § 2710(a)(4))). Continued’s argument as to the second element—whether the

allegedly divulged information was PII—is twofold. It insists that the alleged

disclosures didn’t identify (1) Lovett as a particular person, or (2) “any ‘specific’ videos

that she ‘requested or obtained.’” (Id. at #46–50 (quoting 18 U.S.C. § 2710(a)(3))).

Finally, with respect to the third element, Continued complains that Lovett’s
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Complaint misses the mark in alleging that Continued acted knowingly. (Id. at #51–

52). The Court ultimately agrees that Lovett’s allegations fall short on the second

element—PII. And given that deficiency, her VPPA claim fails, which means the

Court need not reach the other elements.

      As several courts have acknowledged, the VPPA’s text does not explain “the

scope of information” the term PII encompasses. See, e.g., Robinson v. Disney Online,

152 F. Supp. 3d 176, 180 (S.D.N.Y. 2015). A few circuits outside the Sixth Circuit,

however, have defined that scope, but have done so in slightly different terms. In the

First Circuit, for example, “PII is not limited to information that explicitly names a

person,” but also includes “information reasonably and foreseeably likely to reveal

which … videos [a person] has obtained.” Yershov v. Gannett Satellite Info. Network,

Inc., 820 F.3d 482, 486 (1st Cir. 2016). The Third and Ninth Circuits more narrowly

circumscribe PII’s scope to “the kind of information that would readily permit an

ordinary person to identify a specific individual’s video-watching behavior.” In re

Nickelodeon Consumer Priv. Litig., 827 F.3d 262, 267 (3d Cir. 2016); Eichenberger v.

ESPN, Inc., 876 F.3d 979, 985 (9th Cir. 2017) (adopting the Third Circuit’s “ordinary

person standard”).

      The questions here, then, are (1) which standard applies (since the Sixth

Circuit has not yet addressed this issue), and (2) whether Continued’s alleged

disclosure of Lovett’s FID and website subscription qualifies as PII under that

standard. Ultimately, though, the Court need not determine which standard is

appropriate because Lovett’s Complaint fails under either. That is because, whatever



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else they might require, both standards limit PII to information that will allow a

third-party to determine what videos a person has watched. So, for example, “[c]ourts

have uniformly held [FIDs] to constitute PII under the VPPA” where “the plaintiff

alleges that her [FID] was disclosed alongside the viewed video’s URL and name.”

Golden v. NBCUniversal Media, LLC, 688 F. Supp. 3d 150, 159 (S.D.N.Y. 2023)

(emphasis added) (collecting cases). Here, although Lovett alleges that Continued

disclosed her FID and website subscription, she does not allege facts giving rise to a

reasonable inference that Continued disclosed the URL or name of the videos she

accessed by way of that subscription, or anything else that would allow Meta (or

anyone else) to determine the particular videos she watched. And that deficiency is

fatal to her claim. Recall that the VPPA defines PII as information that identifies a

person “as having requested or obtained specific video materials or services.” 18

U.S.C. § 2710(a)(3) (emphasis added). If Continued divulged only Lovett’s website

subscription, as she alleges, that alone “does not indicate that [Lovett] requested or

obtained specific video materials” on the speechpathology.com website. Martin, 657

F. Supp. 3d at 284. It merely indicates that Lovett could access videos on the website.

And that’s not sufficient to bring Lovett within the VPPA’s reach. Id. at 283–85.

      True, the Complaint does state that, armed with the information allegedly

divulged, an “ordinary person could learn the identity of the [subscriber] to whom the

FID corresponds and the specific video products or services” he or person requested.

(Doc. 1, #18). But that doesn’t cut it. Read in the context of the rest of the Complaint,

this allegation merely implies that an ordinary person could learn that the subscriber



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had subscribed to the video service itself (i.e., had a subscription that would allow the

subscriber to access videos). The Complaint alleges no facts suggesting that

Continued disclosed the specific videos its subscribers accessed. To the contrary, the

Complaint repeatedly alleges that Continued disclosed “that [Lovett] and members

of the Classes purchased subscriptions on any one of [Continued]’s websites.” (Id.

(emphasis added); see also id. at #19 (“[Continued] disclosed to Meta that … the

purchaser requested or obtained a subscription to video materials or services.”

(emphasis added))). That means Lovett failed to plausibly allege her VPPA claim.

      Lovett disagrees. According to her, the Complaint alleges that Continued

disclosed both her FID and “the URLs that identified the specific prerecorded video

products or services” Lovett “requested or obtained.” (Doc. 9, #65). But that reading

stretches the Complaint too far. Other than one reference to a Facebook.com URL

(which related to the ease of finding a person’s Meta profile by appending an FID to

the end of that URL), Lovett’s Complaint is devoid of allegations concerning URLs.

And for the reasons discussed, disclosing a website subscription isn’t enough to satisfy

the VPPA’s PII element.

      The cases Lovett cites prove the point. Take Harris v. Public Broadcasting

Service as an example. That court found that it was not disclosure of the plaintiff’s

FID that established VPPA liability, but “the bundling of the FID … with the URLs

of the videos [the plaintiff] watched that matter[ed].” Harris v. Pub. Broad. Serv., 662

F. Supp. 3d 1327, 1334 (N.D. Ga. 2023). So too in Golden v. NBCUniversal Media,

LLC. There, it was the plaintiff’s allegation that the defendant disclosed her FID



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“alongside the viewed video’s URL and name” that created liability. 688 F. Supp. 3d

at 150. Guereca v. Motorsport.tv Digital, LLC is no different. That court found that,

together, disclosure of “FIDs alongside the URLs and titles of videos” accessed

“constitute[d] PII under the VPPA.” (Order, No. 1:24-cv-24066 (S.D. Fla. Feb. 19,

2025), Doc. 30, #8–9). In short, the plaintiffs in those cases alleged that the relevant

defendant disclosed the names and URLs of the specific videos accessed. Not so here.

Lovett merely alleges that Continued disclosed her FID and her website subscription,

not the specific videos or content she viewed. But none of the courts in the cases she

cites found that sort of disclosure sufficient to create VPPA liability. And neither does

this Court.

                                   CONCLUSION

      For the reasons stated, the Court GRANTS Continued’s Motion to Dismiss

(Doc. 6). But because this is a first dismissal, the Court DISMISSES Lovett’s action

WITHOUT PREJUDICE. The Court DIRECTS the Clerk to enter judgment and to

TERMINATE this case on its docket.

      SO ORDERED.


July 1, 2025
DATE                                        DOUGLAS
                                              UGLAS R. COLE
                                            UNITED
                                               TED STATES DISTRICT JUDGE
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